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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

 THE STATE OF TEXAS and                            §
 KEN PAXTON, in his official capacity at
                                                   §
 Attorney General of Texas,
              Plaintiffs,                          §
                                                   §
 v.
                                                   §
                                                              CIVIL ACTION NO. 2:24-CV-237
 MERRICK GARLAND, in his official                  §
 capacity as Attorney General of the United        §
 States; KRISTEN CLARKE, in her official
 capacity as Assistant Attorney General for        §
 the Civil Rights Division; XOCHITL                §
 HINOJOSA, in her official capacity as             §
 Director of the Office of Public Affairs of
 the Department of Justice;                        §
 DEPARTMENT OF JUSTICE; ROB                        §
 SHIVER, in his official capacity as Acting        §
 Director of the Office of Personnel
                                                   §
 Management, and OFFICE OF
 PERSONNEL MANAGEMENT,                             §
                Defendants.                        §

                               JOINT NOTICE OF COMPLIANCE


                 The Parties file this Joint Notice of Compliance with the Court’s order issued early

this morning. ECF 5. Following the filing of the instant suit, but before the Court issued its order,

counsel for Defendants informed counsel for Plaintiffs that Defendants had notified the relevant

local election officials that their monitors would be stationed outside. The Parties conferred and

reached the agreement outlined in ECF No. 4. Plaintiffs filed a notice of the Parties’ agreement

with the Court (ECF 4) to alert the Court that Plaintiffs were withdrawing their application for

temporary restraining order based on the agreement. That notice appears to have crossed with the

Court’s order.

      This Joint Notice is to notify the Court of the Parties’ compliance with the Court’s order:
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  -   Plaintiffs confirm that Defendants have notice of the suit and previous application for TRO.

  -   Defendants confirm that, in addition to the Parties’ agreement outlined in ECF 4, no

      observers under 52 U.S.C. § 10305 will be inside Texas polling locations or election

      tabulation centers.

Dated: November 5, 2024                           Respectfully submitted.

KEN PAXTON                                        BRIAN M. BOYNTON
Attorney General of Texas                         Principal Deputy Assistant Attorney General

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First Assistant Attorney General                  Director, Federal Programs Branch

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COUNSEL FOR PLAINTIFFS
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                                CERTIFICATE OF SERVICE

       On November 5, 2024, this document was served on all counsel of record via email and

through the Court’s CM/ECF system.

/s/Ryan G. Kercher
                                                 RYAN G. KERCHER
